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 8                               UNITED STATES DISTRICT COURT
 9                              SOUTHERN DISTRICT OF CALIFORNIA
10

11   SHAUNDA BRUMMETT; GREG SISSON; Case No. '12CV1428 LAB BGS
     THE ESTATE OF DANIEL SISSON,
12                                  COMPLAINT FOR:
                        Plaintiffs,
13                                  1. 42 U.S.C. § 1983 – 8th Amendment Cruel
             v.                        and Unusual Punishment
14                                  2. 42 U.S.C. § 1983 – 14th Amendment
     COUNTY OF SAN DIEGO; SAN DIEGO    Due Process
15   COUNTY SHERIFF’S DEPARTMENT;   3. Negligence
     WILLIAM D. GORE; DOES 1-50,    4. Failure to Summon Medical Care
16   inclusive,                     5. Negligent Supervision, Training, Hiring
                                       and Retention
17                      Defendants. 6. 42 U.S.C. § 1983 – Due Process – Deprivation
                                       of Familial Relationships
18                                  7. Wrongful Death
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 7                                                      I.
 8                                            INTRODUCTION

 9           1.      On January 23, 2011, Daniel Sisson and his mother put on their best clothes and
10   got ready for court. Daniel and his mother walked into the Vista Courthouse expecting the worse.
11   Daniel, who was already in a diversion program for drug possession, had just recently been
12   arrested again. And, once again, Daniel had been found in possession of a controlled substance.
13   Despite their fears, Daniel and his mother were determined to meet the latest charges head-on,
14   hopeful that another stint in jail, under the care of the jail staff, might jump start yet another stab
15   at sobriety. Two days later Daniel Sisson was dead. According to the coroner, Daniel’s cause of

16   death was “asphyxia due to asthma.” Death by asthma asphyxiation is a slow and agonizing way
17   to die. It is essentially a long and drawn out drowning.
18           2.      Despite repeated requests, the County of San Diego has thus far refused to turn
19   over any of the investigative documents related to this matter. The scant records produced by the
20   San Diego County Coroner reveal that Daniel Sisson, the 21-year old son of Shaunda Brummett
21   and Greg Sisson, and an active member of the San Diego surfing community, was left to die in
22   his jail cell; unattended and without medical attention. Despite what appear to be repeated and
23   vehement protestations from his cell mate, and despite the fact that jail personnel knew that he

24   was a severe and chronic asthmatic who was withdrawing from heroin, Daniel’s non-appearance
25   at consecutive sick calls was met with callous indifference. By the time jail personnel took
26   Daniel’s cell mate’s cries for help seriously and actually took the effort to walk into his cell and
27   conduct a welfare check, Daniel had already been dead for hours.
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 1          3.      Daniel’s untimely death was the result of the deliberate indifference of the staff

 2   and personnel of the Vista Detention Facility (“VDF”) to the acute medical needs of Daniel
 3   Sisson. Not only did jail staff refuse to take any steps to address the risks posed by opiate
 4   detoxification coupled with chronic asthma, this same staff simply ignored the obvious warning
 5   signs arising from their own observations of Daniel’s condition. Only making matters worse,
 6   VDF staff simply chose to ignore the protestations from Daniel’s cell mate who actually resorted
 7   to the posting of written pleas for help. This deliberate indifference was the natural and probable
 8   consequence of the policy, custom and practice of the San Diego County Sheriff’s Department to

 9   house inmates undergoing heroin detoxification in general population without a detoxification
10   protocol and without an individualized treatment plan from a physician. Only making matters
11   worse, VDF staff was also failing to comply with California Code of Regulation Title 15, Section
12   1027 which requires hourly safety and welfare checks for all inmates, regardless of their
13   individual medical needs. Instead, pursuant to this policy, detoxing inmates were left
14   unsupervised, without individualized medical attention, and without the mandated hourly health
15   and safety checks. This policy, and VDF personnel’s deliberate indifference to Daniel’s serious

16   medical condition, led Daniel to suffer and die from an asthma attack; an attack which would
17   have been easily treated had the required welfare checks been conducted and/or the obvious
18   medical needs been heeded. Had VDF personnel simply complied with this provision, and/or
19   heeded the obvious medical warning signs, Daniel Sisson would be alive today.
20          4.      Daniel Sisson’s only crime, like so many unfortunate others in our community,
21   was that he suffered from addiction. Aside from his chronic asthma and addiction, Daniel was an
22   otherwise healthy young man when he entered sheriff’s custody at VDF. Daniel is dead because
23   VDF personnel failed to address and deliberately ignored the serious medical complications

24   posed by Daniel’s condition. Staff knew or should have known that (1) withdrawal from heroin
25   involves extreme levels of stress and respiratory issues that increase the likelihood of a serious
26   asthma attack, (2) the deprivation of appropriate medical withdrawal medication made Daniel
27   more susceptible to those stresses, (3) the absence of individualized treatment plan supervised by
28   a physician posed a significant risk; (4) the absence of a sufficient policy to identify, monitor, and
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 1   treat Daniel’s heroin detoxification process would set the stage for Daniel’s heroin detoxification

 2   induced asthma attack, and (5) the failure to perform required safety checks placed inmates like
 3   Daniel at significant risk. Jail officials knew that Daniel was a chronic asthmatic and that he was
 4   susceptible to acute and severe asthma attacks. Jail officials also knew that Daniel was
 5   withdrawing from daily opiate use. Even though they had a full understanding of the risks
 6   presented by such a potentially deadly combination, jail officials acted with deliberate
 7   indifference to Daniel’s medical needs. Asthma attacks are easily treatable and even a minimal
 8   level of care would have saved his life. Instead, Daniel is dead and his family is grieving.

 9          5.      Daniel’s representatives and surviving family members file this action to hold
10   defendants herein named responsible for the deprivation of Daniel’s and their own constitutional
11   rights and consequential wrongful death and for the loss of the love and companionship of their
12   son.
13                                                    II.
14                                            JURISDICTION
15          6.      This is a lawsuit for money damages and is brought pursuant to 42 U.S.C. § 1983,

16   et seq., and the Eighth and Fourteenth Amendments to the United States Constitution, for
17   wrongful death and violation of constitutional rights by Defendant County of San Diego and its
18   correctional officers. Jurisdiction is founded on 28 U.S.C. § 1331 and 1343 and the
19   aforementioned statutory and Constitutional provisions. State law claims for wrongful death,
20   negligence, failure to summon medical care, negligent supervision and training are alleged as
21   well. Plaintiff invokes the Court’s supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) to
22   consider the state law claims.
23                                                   III.

24                                               PARTIES
25          7.      This action arises from the wrongful death of Daniel Sisson, who was at all times
26   mentioned herein a resident of the County of San Diego, State of California. Plaintiff Shaunda
27   Brummett is Daniel’s mother. She is also a resident of the County of San Diego. She is the duly
28   appointed Administrator and Personal Representative of the Estate of Daniel Sisson. The heirs of
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 1   the estate are Shaunda Brummett and Greg Sisson, Daniel’s father. Plaintiff Greg Sisson is also a

 2   resident of San Diego County.
 3          8.      Defendant County of San Diego (“County”) is and at all times mentioned herein
 4   was a public entity authorized by law to establish certain departments responsible for enforcing
 5   the laws and protecting the welfare of the citizens of San Diego County. At all times mentioned
 6   herein, defendant County was responsible for overseeing the operation, management, and
 7   supervision of the Vista Detention Facility, Defendant San Diego County Sheriff’s Department,
 8   Defendant Sheriff Gore, as well as the Sheriff’s Deputies, Corrections Officers, and VDF Medical

 9   Staff. The names of the individual Sheriff’s Deputies, Corrections Officers, and VDF Medical
10   Staff who were responsible for the care and custody of Daniel Sisson, and who were responsible
11   for the implementation of policies and procedures designed to insure that the medical needs of the
12   VDF inmates are adequately met, are currently unknown to plaintiffs. As such, these individuals
13   are sued herein as DOES 1-50.
14          9.      Defendant San Diego County Sheriff’s Department (“Sheriff’s Department”) is,
15   and at all times mentioned herein was, a public entity responsible for providing law enforcement

16   and detention services for Defendant County of San Diego (the “County”), including supervising,
17   operating, and managing the Vista Detention Facility (“VDF”).
18          10.     Defendant William D. Gore is, and at all times herein mentioned was, Sheriff of
19   Defendant County. As such he is responsible for supervising, operating, and managing VDF.
20          11.     The true names and capacities whether individual, corporate, associate or
21   otherwise, of defendants named herein as DOES 1 through 50 are unknown to plaintiff, who
22   therefore sue said defendants by said fictitious names. Plaintiffs will amend this complaint to
23   show said defendants true names and capacities when the same have been ascertained. Plaintiff is

24   informed and believes and thereon alleges that all defendants sued herein as DOES are in some
25   manner responsible for the acts and injuries alleged herein.
26          12.     At all times mentioned herein defendants Gore and DOES 1 through 50 were
27   employees of Defendant San Diego County and in doing the acts hereinafter described acted
28   within the course and scope of their employment. The acts of all defendants and each of them
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 1   were also done under the color and pretense of the statutes, ordinances, and regulations of the

 2   County of San Diego and the State of California.
 3          13.     In committing the acts and/or omissions alleged herein, all defendants acted under
 4   color of authority and/or under color of law. Plaintiffs sue all public employees named as
 5   Defendants in both their individual and official capacities.
 6          14.     Shortly after the events alleged herein, plaintiffs filed a claim with the County of
 7   San Diego. On or about February 3, 2012, the claim was denied.
 8                                                   IV.

 9                                       BACKGROUND FACTS
10          15.     The Vista Detention Facility (“VDF”) is an 886 bed Type II facility in Vista
11   California and serves as the primary point of intake for male and female prisoners in northern San
12   Diego County. On the morning of June 23, 2011, Daniel and his mother, Shaunda Brummett,
13   arrived at the Vista Courthouse. Daniel, who was on probation for possession of a controlled
14   substance, had recently been re-arrested after sheriff’s deputies found Daniel in the possession of
15   a controlled substance. Daniel and his mother waited all morning to be called and finally, just

16   before noon, their case was called. Because Daniel was already on probation, he was remanded
17   back into custody notwithstanding the fact that he has already posted bail on the new offense.
18          16.     At 1605 hours, San Diego County law enforcement officials took Daniel into
19   custody at VDF. Daniel’s detention records, including an intake health screening, notes that
20   Daniel had chronic bronchial asthma and a history of heroin use. According to the autopsy report,
21   when Daniel was in custody on the underlying charge in December of 2010 he was treated for “at
22   least one acute asthma attack” associated with opiate withdrawal. The autopsy report also notes
23   that during his prior incarcerations in January, June, and November of 2010 and during his

24   incarcerations in February and June of 2011, Daniel was treated “for chronic bronchial asthma
25   and mild opiate withdrawal.” Defendants knew that Daniel had a serious medical condition. The
26   risks posed by a severe asthmatic going through heroin withdrawals are not only self-evident, but
27   in Daniel’s case, this deadly combination had previously manifested itself in the form of an acute
28   asthma attack during his prior incarceration some six months earlier.
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 1          17.     At a minimum, Daniel’s severe asthmatic medical condition coupled with opiate

 2   withdrawal required an individualized treatment plan from a physician. That individualized
 3   treatment plan would necessarily have included regular observation and a response plan should
 4   Daniel have another acute asthma attack. According to the records, at 6:31 am the following
 5   morning, Daniel was suffering from the symptoms of opiate withdrawal including diarrhea,
 6   vomiting, tremor, and dilated pupils. At that time, he told the medical staff that he had been using
 7   heroin every day. Medical staff simply prescribed him Tigan, an anti-nausea drug. Despite
 8   VDF’s knowledge of Daniel’s serious medical conditions, he was returned his cell in general

 9   population in which he would receive no additional individualized medical observation or
10   attention. The only “specialized” treatment Daniel was given was an albuterol “rescue” inhaler
11   for his asthma. And when deputies finally entered his cell to conduct a welfare check and found
12   Daniel’s lifeless body, this “rescue” inhaler was found in Daniel’s bunk, next to his head.
13          18.     It was the policy, custom and practice of VDF to house inmates that require heroin
14   detoxification in general population where their medical condition is not closely monitored. This
15   heroin detoxification policy is grossly inadequate because inmates do not receive an

16   individualized treatment plan to address specific health risks and because the inmates are housed
17   in general population where their medical condition goes unsupervised. The California Correction
18   Standards recognize the risk posed by inmates that enter correctional facilities under the influence
19   of controlled substances. The California Correction Standards Authority mandates that, at
20   minimum, intoxicated inmates posing a risk to themselves or others are to be placed in a “sober
21   cell” and that their medical welfare is to be checked on at least every thirty minutes. Fully aware
22   of, and deliberately indifferent to Daniel’s serious heroin withdrawal and chronic asthmatic
23   condition, VDF officers left Daniel to suffer, unsupervised, in his general population cell.

24          19.     Heroin and opiate detoxification is an agonizing process and frequently
25   exacerbates preexisting medical conditions. Heroin withdrawal, beyond the nausea, vomiting, and
26   diarrhea, causes stress and breathing difficulties and reduces an individual’s ability to withstand
27   asthmatic attacks. These withdrawal symptoms get stronger and usually peak around two to four
28   days after the last use of the drug. According to the medical literature, medical attention must be
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 1   given to chronic medical conditions such as asthma because painful or difficult breathing often

 2   accompanies heroin withdrawal and, if respiratory health is left unmonitored, can lead to a fatal
 3   asthma attack.
 4          20.       It is clear from the records that during the night of June 23, 2011, heroin
 5   withdrawal symptoms began to set in as Daniel began to experience recurring episodes of
 6   vomiting, diarrhea, and tremors. The following morning at 0631 hours, Daniel was treated for
 7   these symptoms by VDF medical staff. At this time, Daniel explicitly told the deputy that he used
 8   heroin daily, but had refrained from telling the nurse during intake because he did not like the

 9   Vistaril he would be prescribed. Daniel was then prescribed and took the prescribed Tigan.
10          21.       Following the early morning treatment by VDF officers, Daniel’s unstable medical
11   condition continued to worsen and frequent heroin detoxification symptoms of vomiting,
12   diarrhea, and nausea continued. Because Daniel was reaching the “peak” of heroin withdrawal,
13   his risk of complications due to existing chronic medical illness increased, and his condition was
14   serious enough to confine Daniel to his cell bunk for the entire day. On the morning of 6/25/11,
15   the last recorded interaction with VDF officers occurred at 1134 hours when Daniel, supine on his

16   bunk as he had been the entire previous day, waved off his scheduled sick call appointment. For
17   the second straight day, Daniel spent the day either vomiting or laying in his bunk.
18   Notwithstanding VDF official’s knowledge of Daniel’s asthma coupled with obvious signs of
19   heroin withdrawal, and in the face of the fact that Daniel had suffered an acute asthma attack
20   while detoxing in jail some six months prior, VDF officials made absolutely no effort to enter his
21   cell and check on his welfare. Instead, VDF officials remained deliberately indifferent to
22   Daniel’s serious and immediate medical condition and took no steps to provide Daniel with the
23   medical care he so urgently needed.

24          22.       Later that day, Daniel, who was at the critical “peak” period of his heroin
25   withdrawal process, began to suffer from a heroin detoxification induced asthma attack that
26   required prompt, appropriate, and responsive medical attention. Instead, VDF and its employees,
27   agents, nurses, deputies, guards, and/or corrections officers, and the Defendant San Diego County
28   Sheriff’s Department, the Sheriff’s Deputies, (collectively Defendant “County” or “VDF”)
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  1   knowingly failed to properly address Daniel’s need for appropriate and immediate medical care.

  2          23.     The records indicate that Daniel’s cellmate was interviewed and a statement from
  3   him was taken. Despite repeated requests from Daniel’s family, the San Diego County Sheriff’s
  4   Department has refused to provide either the cellmate’s statements or even his name. The only
  5   thing that is known of the cell mate is that he was extremely concerned about Daniel and took
  6   what appear to be heroic efforts to alert the staff that Daniel needed help. We know that Daniel’s
  7   cellmate had desperately and repeatedly made efforts to convince VDF officers that Daniel was
  8   dying and in need of immediate medical attention because the reports do disclose that a sign from

  9   the cellmate was found in the cell. This sign is addressed “To America.” According to the
 10   autopsy report, the sign “noted that the decedent had moved into the cell and that he was vomiting
 11   due to apparent heroin withdrawal.” The cellmate’s failed attempts to convince VDF officers to
 12   help Daniel highlight the acts of deliberate indifference by VDF officials towards Daniel’s serious
 13   medical needs form part and parcel of the overall disturbing events of the day. Despite becoming
 14   aware of Daniel’s serious and immediate medical needs, VDF officers continued to follow the
 15   policy, practice, and custom of leaving heroin detoxifying inmates to suffer in their cell,

 16   unsupervised, and without medical attention. VDF officers consistently and knowingly remained
 17   deliberately indifferent to Daniels escalating and serious medical condition.
 18          24.     Finally, and disturbingly too late, VDF deputies performed a welfare check on
 19   Daniel at 2010 hours on June 25, 2011. VDF officers arrived at Daniel’s cell and found him
 20   “unresponsive” lying on his side in his bunk. With obvious signs of rigor, deputies removed
 21   Daniel’s stiff and lifeless body from the cell and began “resuscitative efforts.” Vista Fire Medics
 22   arrived just thirteen minutes later and immediately pronounced Daniel’s death without further
 23   resuscitative efforts because of the obvious signs of rigor.

 24          25.     The autopsy report states that “the last time that anybody saw Daniel alive was at
 25   1700 hours” on the day of his death. The report intentionally fails to disclose who it was that saw
 26   him alive, or how that person knew that Daniel was no longer alive past 1700. Thus, what
 27   appears to be intentionally omitted from the report is that Daniel’s cellmate, after failing to get
 28   anybody to heed his requests, watched Daniel suffer and die and then sat with him for over three
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  1   hours until he could finally get somebody to listen to him.

  2             26.   According to the medical literature, acute asthma attacks are not immediately fatal.
  3   Instead, acute asthma attacks can last anywhere from six to eight hours before causing expiration;
  4   and, expiration only occurs after the body is so oxygen deprived that it begins to shut down.
  5   Acute asthma attacks are easily treatable. Rigor mortis does not set in until at least three hours
  6   after death, and reaches its peak stage around twelve hours after death. Daniel was dead for at
  7   least three hours before VDF officers found him and initiated their futile resuscitative efforts. And
  8   not only had Daniel been dead for at least three hours before VDF officers finally attended to

  9   him, but he had also been suffering from his heroin detoxification induced asthma attack for at
 10   least six hours prior to his death. This grossly disturbing period of at least nine hours exemplifies
 11   VDF’s deliberate indifference to Daniel’s health and welfare.
 12             27.   Daniel’s untimely death, and deprivation of constitutional rights, was caused by
 13   the utter failure of VDF staff to react to the obvious warning signs that Daniel was in a severe
 14   medical emergency. This lack of response was the natural and probable consequence of a County
 15   policy which fosters the deliberate indifference to the medical needs of the inmates of VDF.

 16   Contrary to accepted medical practice, detoxing inmates are simply placed in general population,
 17   without medical supervision and without an individualized medical treatment plan. Policymakers
 18   know that their jails and medical staff will encounter detoxing inmates with underlying chronic
 19   illnesses that are exacerbated by the withdrawal process, yet they fail to provide a screening
 20   system to identify and address these needs. The risk that Daniel’s condition would deteriorate as a
 21   result of withdrawal from heroin was obvious, and the County manifested deliberate indifference
 22   to the matter. Daniel’s known and obvious serious medical threat was not given any
 23   individualized treatment. His death is directly attributable to VDF’s failure to examine, recognize,

 24   and address Daniel’s progressively deteriorating asthmatic condition during his withdrawal from
 25   heroin.
 26             28.   Further contributing to Daniel’s unnecessary death was the County’s custom,
 27   policy and practice to not perform the mandatory hourly inmate safety checks. Title 15, Section
 28   1027 of the California Code of Regulations mandates that “at least hourly safety checks” are to be
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  1   performed by a sufficient number of correctional employees. According to the CCR, “Safety

  2   checks are intended to provide for the health and welfare of the inmates. This means that staff
  3   must be able to see each inmate without the aid of audiovisual equipment to assure that he/she is
  4   alive and not experiencing any trauma in order to consider that the intent of the regulation is
  5   met.” Had VDF staff performed the safety checks as required, Daniel would not dead. Instead,
  6   there is but one documented interaction between Daniel and staff on the day of his death; and
  7   during that limited interaction staff ignored the obvious warning signs related to Daniel’s
  8   condition. By the time Daniel’s body was discovered, rigor had set in indicating that Daniel had

  9   been dead for hours. Thus, it is clear that VDF staff completely disregarded the mandate of Title
 10   15, Section 1027 of the California Code of Regulations. On information and belief, the jail was
 11   understaffed and, those who were working followed the VDF custom and practice of performing
 12   the safety checks far less often than required. Cell checks are essential for the safety of inmates
 13   and, if VDF had performed them as required, a safety check would have saved Daniel’s life.
 14          29.     The County knew that its policies regarding staffing and cell checks posed a
 15   substantial risk and County employees knew that not performing safety checks would affect the

 16   health and safety of chronically ill inmates. Through the County’s decision not to fully staff the
 17   jail, and by condoning and ratifying the custom and practice of not performing required safety
 18   checks, the County ignored the substantial risk that inmate’s health and safety would be
 19   jeopardized. The County’s policies regarding cell checks and staffing were a moving force behind
 20   Daniel’s death. If Daniel’s welfare had been checked on or supervised through the heroin
 21   detoxification process, his medical emergency would have been addressed.
 22          30.     Daniel Sisson was an otherwise healthy, loving, and valuable member of the
 23   Sisson family. Little did his family know that on that fateful day he dressed up and went to court,

 24   he would not return. Daniel Sisson was remanded to custody because he violated the
 25   probationary terms related to possession for personal use. He was not sentenced to death. At a
 26   minimum, Daniel and his family trusted that jail staff would provide the medical care necessary
 27   to keep him alive. This, they failed to do. Daniel suffered a slow agonizing death; essentially
 28   drowning to death in his cell. Had staff heeded the red flags related to Daniel’s condition, he
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                                                   COMPLAINT
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  1   would not have suffered and died in his cell. Had the County and VDF put into place policies and

  2   procedures designed to address the needs of inmates detoxing from opiate use, Daniel would be
  3   alive today and had VDF staff complied with Title 15, Section 1027 of the California Code of
  4   Regulations, Daniel would still be a part of the Sisson family. Instead, due solely to the County’s
  5   failures on various fronts, Daniel is dead.
  6                                     FIRST CAUSE OF ACTION
  7                42 U.S.C. § 1983 – 8th Amendment Cruel and Unusual Punishment
  8                                        [Against All Defendants]

  9          31.     Plaintiff realleges and incorporates by reference each and every allegation stated
 10   above as though fully set forth herein.
 11          32.     In doing the acts and/or omissions herein alleged, defendants were deliberately
 12   indifferent to the serious medical needs of Daniel Sisson, which caused the unnecessary infliction
 13   of pain and physical injury on Daniel, resulting in his untimely death. The actions and inactions
 14   of the VDF staff resulted in the violation of his rights under the Eighth Amendment of the United
 15   States Constitution.

 16          33.     As a result of the VDF staff’s deliberate indifference to plaintiff’s serious medical
 17   needs, plaintiff was subjected to cruel and unusual punishment prohibited by the Eighth
 18   Amendment of the United States Constitution. As a result thereof, plaintiff is entitled to damages
 19   pursuant to 42 U.S.C. § 1983 in an amount to be proven at trial.
 20          34.     The aforementioned acts and/or omissions of defendants in violating plaintiff’s
 21   civil rights were the direct and proximate result of policies, procedures and practices/customs of
 22   defendants, and each of them, as alleged herein.
 23          35.     Such policies, procedures, and practices/customs include, but are not limited to,

 24   placing inmates needing medical treatment for heroin withdrawal in general population, without
 25   an individualized treatment plan, then leaving them unsupervised. The County also failed to
 26   perform the hourly safety checks as prescribed by state law.
 27          36.     Said defendants encouraged, ratified and/or approved of the acts and/or omissions
 28   alleged herein, and knew or should have known that such conduct was unjustified and would
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  1   result in violations of constitutional rights.

  2           37.     The aforementioned acts and/or omissions of the defendants were malicious,
  3   reckless and/or accomplished with a conscious disregard of Daniel Sisson’s rights thereby
  4   entitling plaintiffs to an award of exemplary and punitive damages according to proof.
  5                                     SECOND CAUSE OF ACTION
  6                     42 U.S.C. § 1983 – Deprivation of Life Without Due Process
  7                                         [Against All Defendants]
  8           38.     Plaintiff realleges and incorporates by reference each and every allegation stated

  9   above as though fully set forth herein.
 10           39.     As a result of the acts and omissions described above, including but not limited to:
 11   the failure to heed the warning signs related to Daniel’s condition; the failure to provide an
 12   individualized treatment plan from a physician; the failure to adopt a policy that would provide
 13   for the health and welfare of detoxifying inmates instead of simply placing them in general
 14   population without any specialized care; and the failure to conduct the hourly face-to-face welfare
 15   checks mandated by the CCRs, defendants deprived Daniel Sisson of his health, strength, and

 16   activity, and ultimately his life, without due process of law in violation of the Fourteenth
 17   Amendment to the United States Constitution.
 18           40.     The blatant and conscious disregard of Daniel Sisson’s obvious and known serious
 19   medical conditions – including, but not limited to, unreasonable delays in providing treatment,
 20   lack of an adequate treatment procedure for inmates suffering from heroin withdrawal, lack of
 21   welfare checks, the refusal to respond to the cellmate’s cries for help, and the subsequent
 22   abandonment of Daniel in is his cell until his demise, essentially transformed Daniel’s short jail
 23   term into a death sentence.

 24           41.     The aforementioned acts and/or omissions of the defendants were malicious,
 25   reckless and/or accomplished with a conscious disregard of Daniel Sisson’s rights thereby
 26   entitling plaintiffs to an award of exemplary and punitive damages according to proof.
 27   ///
 28   ///
                                                          12
                                                       COMPLAINT
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  1                                     THIRD CAUSE OF ACTION

  2                        Negligence – California Government Code § 844.6(d)
  3                                        [Against All Defendants]
  4          42.     Plaintiff realleges and incorporates by reference each and every allegation stated
  5   above as though fully set forth herein.
  6          43.     Defendants, and each of them, have a duty to operate and manage the Vista
  7   Detention Facility in a manner so as to prevent the acts and/or omissions alleged herein. Said
  8   defendants owed Daniel Sisson, as an inmate in defendant’s custody, care and control, a duty of

  9   due care to protect his health and physical safety.
 10          44.     Defendants were negligent and their conduct fell below a reasonable standard of
 11   care when they failed to discharge their duties as custodians and/or health care providers to
 12   Daniel Sisson. It was foreseeable that as a result of Defendant’s acts and omissions, as described
 13   above, Daniel Sisson’s asthma condition accompanied by heroin withdrawal would worsen,
 14   resulting in his physical injury, suffering, and death. Defendants’ breach proximately caused
 15   injuries and damages to Daniel Sisson and plaintiffs as alleged herein.

 16                                    FOURTH CAUSE OF ACTION
 17                                    Failure to summon medical care
 18                                        [Against All Defendants]
 19          45.     Plaintiff realleges and incorporates by reference each and every allegation stated
 20   above as though fully set forth herein.
 21          46.     California Government Code § 845.6 creates an affirmative duty for jail officers
 22   “to furnish or obtain medical care for a prisoner in his custody.” As alleged, Daniel Sisson’s
 23   cellmate desperately and repeatedly attempted to convince VDF officers to summon medical care

 24   for Daniel. VDF staff had actual or constructive knowledge of Daniel’s need for immediate
 25   medical care and deliberately chose to not furnish Daniel with medical care. Defendants failed to
 26   discharge the duty imposed upon them by California Government Code § 845.6. As a direct and
 27   proximate result of Defendant’s acts and/or omissions, hereinabove described, Daniel Sisson
 28   suffered severe physical injury, resulting in his untimely death.
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  1             47.      Defendants San Diego County, San Diego County Sheriff’s Department, and

  2   Sheriff Gore are liable for their employees’ breach of their duty to summon required immediate
  3   medical care while acting in the course and scope of their employment under the doctrine of
  4   respondeat superior.
  5                                        FIFTH CAUSE OF ACTION
  6                           Negligent Supervision, Training, Hiring and Retention
  7                                           [Against All Defendants]
  8             48.      Defendants, and each of them, have a duty to hire, supervise, train and retain

  9   employees and/or agents so that its employees and/or agents refrain from the conduct alleged
 10   herein.
 11             49.      Defendants, and each of them, breached this duty causing the conduct alleged
 12   herein. Such breach constituted negligent hiring, supervision, training and retention under the
 13   laws of the State of California.
 14             50.      Such breach proximately caused damages and injuries to decedent and plaintiffs as
 15   alleged herein.

 16                   COUNTS ON BEHALF OF DANIEL SISSON’S FAMILY MEMBERS
 17                                        SIXTH CAUSE OF ACTION
 18                   42 U.S.C. § 1983 – Due Process – Deprivation of Familial Relationships
 19                                           [Against All Defendants]
 20             51.      Plaintiff realleges and incorporates by reference each and every allegation stated
 21   above as though fully set forth herein.
 22             52.      As a result of Defendants’ acts and/or omissions hereinabove described, including
 23   defendants’ deliberate indifference to Daniel Sisson’s serious medical needs, Daniel’s immediate

 24   family members were deprived of their constitutional right to familial association, society, and
 25   companionship, without due process of law, in violation of the Fourteenth Amendment of the
 26   United States Constitution.
 27   ///
 28   ///
                                                          14
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  1                                   SEVENTH CAUSE OF ACTION

  2                                             Wrongful Death
  3                                        [Against All Defendants]
  4          53.     Plaintiff realleges and incorporates by reference each and every allegation stated
  5   above as though fully set forth herein.
  6          54.     As a result of the Vista Correctional Facility officer’s deliberate indifference to
  7   plaintiff’s serious medical needs, Daniel Sisson suffered a painful and untimely death.
  8          55.     By reason of Daniel Sisson’s death, Daniel’s heirs have suffered and continue to

  9   suffer loss of society, companionship, comfort, care, guidance, financial support, and other
 10   services as a result of Daniel’s preventable death.
 11                                         PRAYER FOR RELIEF
 12          WHEREFORE, plaintiffs pray for the following relief:
 13          1.      For compensatory, general and special damages against each defendant, jointly
 14   and severally, in an amount according to proof;
 15          2.      For punitive and exemplary damages against each individually named defendant in

 16   an amount appropriate to punish defendants and deter others from engaging in similar
 17   misconduct;
 18          3.      For costs and reasonable attorney's fees pursuant to 42 U.S.C. § 1988 and as
 19   otherwise authorized by statute or law;
 20          4.      For such other relief, including injunctive and/or declaratory relief, as the Court
 21   may deem proper.
 22                                         REQUEST FOR JURY
 23          Plaintiff hereby requests a jury trial in this action.

 24                                                  Respectfully submitted,
 25                                                  AGUIRRE, MORRIS & SEVERSON LLP
 26
 27   Dated: June 12, 2012                              s/Christopher S. Morris
                                                     Christopher S. Morris, Esq.
 28                                                  Attorneys for Plaintiff
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                                                    COMPLAINT
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